
In re Royals, Joseph; — Defendant(s); applying for supervisory and/or remedial writs; to the Court of Appeal, First Circuit, No. KA92 0064; Parish of St. Tammany, 22nd Judicial District Court, Div. “C”, No. 195893.
Granted. Judgment of the court of appeal denying relator’s motion to withdraw is vacated and set aside. The proper procedure for determining whether an attorney on appeal is entitled to withdraw is set forth in State v. Benjamin, 573 So.2d 528 (La.App. 4th Cir.1990). Accordingly, the case is remanded to the court of appeal to decide relator’s motion to withdraw under the Benjamin standards, without any additional requirements on counsel.
HALL, J., not on panel.
